                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    at CHATTANOOGA

 WENDY WATKINS                                 )
                                               )
        A.K.A. WINDY WATKINS                   )
 v.                                            )              No. 1:03-cr-230/1:14-cv-195
                                               )              Judge Curtis L. Collier
 UNITED STATES OF AMERICA                      )
                                               )

                                       MEMORANDUM

        Federal prisoner Wendy Watkins, A.K.A. Windy Watkins1 (“Watkins”) filed for post-

 conviction relief pursuant to 28 U.S.C. § 2255 on April 25, 2011 (Criminal Court File No. 84).2 The

 Court denied relief on July 15, 2011, finding Watkins’ § 2255 motion was time-barred by the statute

 of limitations (Criminal Court File Nos. 85 & 86). Watkins subsequently filed a second § 2255

 motion, by and through Attorney Anthony Martinez, on June 20, 2014, attacking the same

 conviction (Criminal Court File No. 99).

        In accordance with the “Antiterrorism and Effective Death Penalty Act of 1996,” effective

 April 24, 1996, Watkins cannot file a second or successive § 2255 motion in the District Court until

 she has moved in the United States Court of Appeals for the Sixth Circuit for an order authorizing

 the District Court to consider the motion. This Court has not received an order from the Sixth

 Circuit authorizing it to consider the pending motion.




        1
                Although movant’s name is spelled “Wendy Watkins” in the majority of documents
 in the underlying criminal case, movant has signed her name as “Windy Watkins” on most, if not
 all of the documents she has signed in this case (Criminal Court File Nos. 31, 50, 55, 80, 82, & 84)
        2
               Each document will be identified by the Court File Number assigned to it in the
 underlying criminal case.


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        Accordingly, the Clerk will be DIRECTED to TRANSFER this action to the United States

 Court of Appeals for the Sixth Circuit, pursuant to 28 U.S.C. § 1631 and CLOSE the case (Criminal

 Court File No. 99). See Sims v. Terbush, 111 F.3d 45, 47 (6th Cir. 1997).

        In addition, counsel is ORDERED to notify the Court of the correct legal spelling of his

 client’s full name within twenty (20) days from the date of this order.

        An appropriate order will enter.



                                              /s/
                                              CURTIS L. COLLIER
                                              UNITED STATES DISTRICT JUDGE




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